     Case 2:07-cr-00515-WBS Document 303 Filed 09/23/11 Page 1 of 3


 1   DAVID J. COHEN, ESQ.
     California Bar No. 145748
 2   BAY AREA CRIMINAL LAWYERS, PC
     300 Montgomery Street, Suite 660
 3
     San Francisco, CA 94104
 4   Telephone: (415) 398-3900

 5   Attorneys for Defendant Alex Hernandez

 6
                            UNITED STATES DISTRICT COURT
 7
                        EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,         )       CR S CR 07-515-03-WBS
10                                     )
                Plaintiff,             )
11                                     )
     v.                                )       STIPULATION      RE-SCHEDULING
12                                     )       SENTENCING      HEARING    AND
                                       )       [PROPOSED] ORDER THEREON
13   ALEX HERNANDEZ,                   )
                                       )
14
                Defendant.             )
15                                     )
                                       )
16
17        Defendant Alex Hernandez, by and through his attorney of
18   record,   David   J.    Cohen,   Esq.,     and   Assistant   United   States
19   Attorney, Michael M. Beckwith, Esq., after due consultation with
20
     Senior United States Probation Officer Thomas H. Brown, jointly
21
     request an extension of time for the sentencing hearing in this
22
     matter.
23
          The parties stipulate and agree that the sentencing hearing
24
     in this case should be continued from September 26, 2011 at 8:30
25
26   a.m. to December 12, 2011 at 9:30 a.m.

27
28                                         1
     Case 2:07-cr-00515-WBS Document 303 Filed 09/23/11 Page 2 of 3


 1        The reason for this stipulation is as follows:
 2        1.     Mr. Cohen has been in trial since August 22, 2011 in
 3   the case of People v. Henaghan (Case No. SC067648) in the county
 4
     of San Mateo.      The defendant in that case was facing a life
 5
     sentence.   That case concluded on September 19, 2011 – the same
 6
     day that the sentencing memorandum in this case was due. Because
 7
     of the serious nature and lengthy proceedings related to Mr.
 8
     Henaghan’s trial, Mr. Cohen has been unable to devote time to
 9
10   preparing the sentencing memorandum in this case.

11        2.     Mr.   Cohen’s    associate,      Jason   T.     Campbell,     Esq.,

12   contacted   the   Court     and   spoke   with   Ms.      Kirksey-Smith    who
13   explained that the Court had no dates available for sentencing
14   between October 3, 2011 and December 12, 2011.                 Mr. Campbell
15
     consulted with Mr. Beckwith and both agreed that, given the
16
     limited   dates   available,      December    12,    2011    would   be   more
17
     convenient.
18
          3.     On September 21, 2011, Mr. Campbell contacted Senior
19
     United States Probation Officer Thomas H. Brown.              Officer Brown
20
21   indicated that he had no objection to this request.

22        IT IS SO STIPULATED.
                                               BENJAMIN B. WAGNER
23                                             United States Attorney
24   DATED: September 22, 2011             By:/s/Michael M. Beckwith
                                              MICHAEL M. BECKWITH
25                                            Assistant U.S. Attorney
26
                                               Attorneys for Plaintiff
27
28                                        2
     Case 2:07-cr-00515-WBS Document 303 Filed 09/23/11 Page 3 of 3


 1
     DATED: September 22, 2011            By:/s/David J. Cohen
 2                                           DAVID J. COHEN
 3                                           Attorneys for Defendant
 4                                           ALEX HERNANDEZ

 5
          IT IS SO ORDERED.
 6
 7
     DATED:   September 22, 2011
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                       3
